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6

7
                              UNITED STATES DISTRICT COURT
8                           NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
9

10                                           )   Case No.: 3:17-cv-04002-LB
     OPEN SOURCE SECURITY INC. and           )
11   BRADLEY SPENGLER                        )
                                             )   PLAINTIFFS’ COUNSEL’S RESPONSE
12                         Plaintiff,        )   TO DEFENDENT’S MOTION FOR
                                             )   SANCTIONS; MEMORANDUM OF
13     v.                                    )   POINTS AND AUTHORITIES IN
                                             )   SUPPORT THEREOF; DECLARATION
14   BRUCE PERENS, and Does 1-50,            )   OF ROHIT CHHABRA IN SUPPORT
                                             )   THEREOF
15                         Defendants.       )
                                             )
16                                           )
                                             )   Hearing Date: April 5, 2018
17                                           )   Time: 9:30 a.m.
                                             )   Location: Courtroom C, 15th Floor
18                                           )   Judge: Hon. Laurel Beeler
                                             )
19

20
21 REDACTED VERSION OF DOCUMENT(S) SOUGHT TO BE SEALED – PURSUANT TO
   COURT ORDER
22
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 1                                            I. INTRODUCTION

 2          Section 1927 requires the touchstone of bad faith, which is more than mere negligence.

 3          Plaintiffs’ counsel denies any wrongdoing – evidence (as presented herein) clearly indicates

 4 Defendant’s counsels (on behalf of Defendant) have filed this frivolous motion only to harass and

 5 distract the undersigned from performing his legal duties.

 6          Defendant states that Plaintiffs’ counsel’s conduct is sanctionable since he – should have

 7 known – the motion for partial summary judgment would be dismissed; he – should have known –

 8 that this Court would have deemed Defendant’s statements as an opinion. However, Defendant

 9 presents such arguments in hindsight and provides no case law supporting his contention.

10          Defendant is entitled to recover only those expenses incurred in responding to arguments or

11 motions that were asserted in bad faith. The fact that all of Plaintiffs’ claims were ultimately dismissed

12 does not establish that Plaintiffs (or their counsel) knowingly or recklessly raised a frivolous claim or

13 pursued non-frivolous claims in order to harass Defendant.

14          Further, Defendant intentionally misrepresents facts by distorting:

15          (i) colloquial statements in an email by Plaintiffs’ counsel whose sole purpose was to accept a

16 challenge posed by Defendant’s counsel through the anti-SLAPP motion; and

17          (ii) statements made by Plaintiffs’ counsel during the December 21, 2017 hearing (which are

18 preserved by audio and transcript).
19          It is respectfully submitted, no action or conduct by the undersign can reasonably qualify for

20 sanctions under Section 1927. Plaintiffs’ counsel did not act in bad faith or engage in vexatious
21 litigation practices; Plaintiffs’ counsel has only filed motions that were based on an arguable and

22 reasonable legal theory, even if this Court ultimately did not agree with Plaintiffs. See also, Norman
23 Decl. ¶ 8.(Ex.2, Plaintiffs’ Opposition to Defendant’s Fee Motion; concurrently filed herewith).

24
25                                     II. POINTS AND AUTHORITES
26          Recklessness or bad faith is required to support a fee award under § 1927. U.S. v. Blodgett, 709
27
     F.2d 608, 610 (9th Cir.1983). An award of fees under the statute requires a finding of subjective bad
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     faith. Blixseth v. Yellowstone Mountain Club, LLC, 796 F.3d 1004, 1007 (9th Cir. 2015). Ignorance or
 1

 2 negligence is not sufficient to impose section 1927 sanctions. Barber v. Miller, 146 F. 3d 707, 711 (9th

 3 Cir. 1998). “Bad faith is present when an attorney knowingly or recklessly raises a frivolous argument,

 4 or argues a meritorious claim for the purpose of harassing an opponent.” B.K.B. v. Maui Police Dept.,

 5 276 F.3d 1091, 1107 (9th Cir. 2002); Estate of Blas v. Winkler, 792 F.2d 858, 860 (9th Cir.1986).

 6
     “For sanctions to apply, if a filing is submitted recklessly, it must be frivolous, while if it is not
 7
     frivolous, it must be intended to harass.” In re Keegan Management Co., Securities Litigation, 78 F. 3d
 8
     431, 436 (9th Cir. 1996).
 9

10
     A. Re: “Game”
11
            Defendant has intentionally misrepresented Plaintiffs’ counsel’s statement or intent. Chhabra
12

13 Decl. ¶ 3. Upon seeing the first anti-SLAPP motion filing, on September 18, 2017, the undersigned

14 expressed his astonishment and colloquially accepted the challenge posed by Defendant’s counsel by

15 stating, “Oh interesting. This would be a fun game to play. If you win this, I’ll happily pay your bills.”.

16
     Chhabra Decl. 2. The word “game” was used in a colloquial manner as to a challenge – specifically the
17
     anti-SLAPP motion filed by Defendant. The undersigned’s intention can clearly be seen by initiating
18
     the communication by “Oh interesting.” (italics added) and concluding by “If you win this, I’ll happily
19
     pay your bills .. .” (italics added) indicating an acceptance of a challenge.
20
21          Furthermore, the Merriam-Webster dictionary clearly defines game as “3 a (1) : a physical or

22 mental competition conducted according to rules with the participants in direct opposition to each
23 other.” https://www.merriam-webster.com/dictionary/game. Arguably practice of law is a mental

24
     competition between counsels of both parties. Defendant’s counsel’s responsibility was to get the case
25
     dismissed, and Plaintiff’s counsel’s responsibility was to get the anti-SLAPP motion denied. Each
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     party is of course mentally competing to be persuasive and convincing. An offhand colloquial remark
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     that begins with “oh interesting,” and ends with “I’ll happily pay your bills,” shows no indicia of bad
 1

 2 faith or vexatious litigation. To the contrary, it shows astonishment (after reading the anti-SLAPP

 3 motion) accepting a challenge, and then accepting responsibility in case the motion is granted. Also,

 4 I’ll happily pay your bills shows the undersigned’s promise to not oppose a fee motion in case the anti-

 5 SLAPP motion is granted.

 6
            If Plaintiffs or their counsel wanted to harass Defendant they would not have voluntarily agreed
 7
     and request the Court, in a proposed Order, to hold Defendant as the prevailing party for the purposes
 8
     of the anti-SLAPP motion, even when the Court has not yet granted the anti-SLAPP motion. See
 9

10 Plaintiffs’ ex parte motion for judgment (ECF No. 57).

11           Furthermore, Plaintiffs’ counsel also assured Defendant’s counsel, on December 26, 2017,

12 that this matter was not a “game” and the undersigned’s colloquial figure of speech was intentionally

13
     being misrepresented. Decl. 3.
14
            It will be unreasonable and unjustified to even consider this statement as a factor to impose
15
     1927 sanctions.
16

17 B.    The first amended complaint was appropriate without a Court Order; A Court Order
   denying the Original Complaint would have, regardless, resulted in the First Amended
18 Complaint – on the merits
19          After the anti-SLAPP motion was filed, Plaintiff amended the complaint as the undersigned
20 opined, based on his professional judgment, that the original complaint would probably not withstand
21
     an anti-SLAPP motion. Decl. 4. The amended complaint was recommended by the undersigned to
22
     Plaintiffs in an effort to avoid needlessly waste Court resources or burden the parties unnecessary for
23
     an extra anti-SLAPP hearing.
24
25          Had Defendant’s counsel, in a timely manner, expressed Defendant’s intention to file an anti-

26 SLAPP motion in any of the communications she had with Plaintiffs’ counsel (before filing the First

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     anti-SLAPP motion), the undersigned would have recommended an amendment earlier to Plaintiff.
 1

 2 Decl. 5.

 3            However, even if this Court was given an opportunity to hear (and subsequently dismiss) the

 4 (10 page long) Original complaint, a failure to submit the first amended complaint would have been a

 5 clear ethical violation of the undersigned’s responsibility of not representing his client to the best of his

 6
     abilities.
 7
              Furthermore, preserving his clients’ right for appeal would have become paramount (since the
 8
     Original Complaint was deemed not capable to withstand an anti-SLAPP motion, by Plaintiffs’
 9

10 counsel). Thus, even if the Court would have denied the Original complaint, the undersigned had an

11 ethical responsibility to file the First Amended Complaint to preserve his clients’ rights on Appeal.

12 Perfecting the complaint was for the benefit of Plaintiffs and to preserve their rights on Appeal, not to

13
     harass Defendant.
14
              It should also be noted that this Court in its December 21, 2017 Order used facts out of
15
     Plaintiffs’ First Amended Complaint to formulate its opinion – facts which were not disclosed in the
16
     Original complaint.
17

18            Therefore, had the Court heard Defendant’s first anti-SLAPP motion, the amended complaint

19 would have resulted in an extra hearing for the second anti-SLAPP motion which was prevented by

20 the affirmative steps taken by the undersigned.
21
              Section 1927 sanctions are unwarranted.
22
23
     C. The motion for partial summary judgment was filed in good faith based on a valid legal
24
     theory
25
              The undersigned submits that the motion for partial summary judgment for defamation per se
26
     was filed, in good faith, under an arguable legal theory. Even an experienced litigator like Mr.
27
     Norman, who formulated his unbiased assessment regarding attorneys’ fee, stated that the summary
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     judgment motions were based on a reasonable legal theory (expressing an argument overlap in the
 1

 2 summary judgment and anti-SLAPP motions). Norman Decl. ¶ 8.

 3           Since Defendant had made a statement on Slashdot.org that reasonably seemed to mean

 4 Plaintiffs’ subscription agreement was not in violation of the GPL – an issue of fact – the arguable

 5 legal theory was that Defendant agreed Plaintiffs were not in violation of the GPL. If the court would

 6
     have agreed with Plaintiffs contention, there would have been no need to address the anti-SLAPP
 7
     motion. Furthermore, Plaintiffs could not have predicted Defendant would submit multiple
 8
     declarations. If Defendant did not believe his declaration was false, he could have easily argued his
 9

10 position during the court hearing; no surreply was necessary. However, based on Cara Gagliano’s

11 timekeeping records, Defendant clearly recognized he made an “error,” as contended by Plaintiffs – a

12 convenient “error,” recognized after it the fact. See C. Gagliano Timekeeping record dated 11/15/2017,

13
     “revise declaration correcting error in previous declaration ...” Hansen Decl. Ex. C (ECF 63-3).
14
             Interestingly enough, in another entry, on 11/15/2017, Ms. Gagliano stated, “research
15
     requirements for amending filings to disclose non-material errors in declarations.” Id. Arguably, if this
16
     in fact was a non-material error, then Defendant’s surreply becomes frivolous only to harass Plaintiffs
17

18 with vexatious litigation strategies. If it was a “non-material error,” it should have been addressed
19 during oral arguments as was suggested by Plaintiff’s counsel while not stipulating to the surreply

20 filing.
21
             Generally, contradictory statements can and are used to evaluate the truthfulness and
22
     credibility of a witness or defendant. Had the Court agreed with Plaintiffs contention, the Court did not
23
     have to even consider the anti-SLAPP motion. Just because the Court did not agree with Plaintiffs does
24
25 not make an argument frivolous, in hindsight.

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            As it relates to why the undersigned did not argue the summary judgment motion, Plaintiffs
 1

 2 attempted to, but out of deference to this Court decided not to pursue that matter as discussed

 3 underneath.

 4 D. The undersigned’s statement in Court: “so for the summary judgment, I honestly just wanted
   Mr. Perens’s declaration.”
 5

 6
            When the Court held that the summary judgment motion was premature, the undersigned in an
 7
     attempt to resurrect the matter stated “ ... so for the summary judgment, I honestly just wanted Mr.
 8
     Perens' declarations.” Oral Argument Transcripts, p.6:25 – p.7:2 (Dec. 14, 2017 (emphasis and
 9

10 underlining added). As the undersigned was about to elaborate on this further the court interjected that

11 it understood the point, but indicated that one could not necessarily expect to win on a partial summary

12 judgment motion. The undersigned decided not to discuss this matter further, as reasonably continuing

13
     arguing on a motion that had been conclusively deemed as premature, would have been disrespectful to
14
     the Court. Decl. 6.
15
            Reasonably, “not necessarily win,” does not equate to “necessarily lose” (as in an absolute
16
     100% failure). Moreover, the discrepancy occurred due to Defendant’s statement on Slashdot, and was
17

18 further questioned due to a convenient “error” in his declaration, as alleged in the opposition to the
19 surreply. Attempting to convince the Court to grant a partial summary judgment motion due to

20 Defendant’s own doings cannot be considered section 1927 sanctionable.
21

22
     D. Not informing Defendant prior to filing the partial summary judgment motion
23
            The undersigned is unaware of any such requirement, either under the Federal Rules or Local
24
25 Rules. If there is such a requirement, the undersigned apologizes to this Court due to his ignorance.

26 Prior to filing the motion for partial summary judgment, the undersigned verified the rules of this

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     Court as provided in the Standing Order and proceeded accordingly. Not informing Defendant’s
 1

 2 counsel about an impending motion does not reasonably equate to a section 1927 sanctionable event.

 3

 4 E. Not stipulating a continuation for the summary judgment

 5          Plaintiffs hoped, in good faith, that the Court would grant the summary judgment motion and
 6 that it would have avoided the unnecessary purpose of defending Plaintiffs against an anti-SLAPP

 7 motion.

 8 The goal was to reduce Plaintiffs’ legal fee since anti-SLAPP motions are time consuming and costly
   to respond and defend against, and thus the undersigned did not stipulate to an agreement. Again, the
 9
   goal was to reduce Plaintiffs’ expenses, and not to harass Defendant. However, when the Court
10
   directed a stipulation, out of respect to the Court, the undersigned conceded. Furthermore, there was no
11
   intentional purpose of delay or increasing costs. In fact, Plaintiffs wanted the summary judgment
12 motion to be heard prior to the filing of the anti-SLAPP motion so that the Court could have ruled on

13 Plaintiffs’ summary judgment motion first.1

14
     F. The supplemental motion
15
            The undersigned is thankful to this Court for permitting the supplemental motion. The motion
16
     was filed in good faith and presented legal arguments, which the undersigned still believes are
17
     pertinent in this matter. It is unfortunate that the Court did not agree with Plaintiffs, but nonetheless the
18 filing of a supplemental motion for the limited purpose of addressing a single case cannot warrant
19 Section 1927 sanctions.

20          Furthermore, the “unopposed” supplemental brief was filed after meeting and conferring with

21 Defendant’s counsel and included a statement provided by Ms. Hansen. Since Defendant’s counsel
   stated she did not find the Overstock case pertinent, clearly there was no need for Defendant to respond
22
   to it or incur any legal cost.
23

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25
            1
                Plaintiffs’ motion for partial summary judgment was filed on October 11, 2017, Defendant
26
     filed his anti-SLAPP motion on October 31, 2017.
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            Nonetheless, a disagreement whether a particular case is relevant or not, cannot justify Section
 1
     1927 sanctions.
 2
     G. Renewed motion under L.R. 7-8(c) to deem the instant motion untimely
 3

 4          A motion for sanctions “ ... must be made as soon as practicable after the filing party learns of
 5 the circumstances that it alleges make the motion appropriate.” L.R. 7-8(c).

 6          Defendant’s time keeping records clearly indicate that the first time any member of
 7 Defendant’s legal team attempted to research or even consider Section 1927 violations against the

 8 undersigned was on January 21, 2018 – three days after submission of Plaintiffs’ intent to not amend

 9 the complaint (ECF No. 55).

10          Therefore, the undersigned renews his request that this Court should deem this motion for
11 sanctions as untimely (not for delayed filing of 22 minutes), but for not timely filing this motion when

12 the alleged misconduct occurred. Furthermore, evidence clearly shows, by lack of any Section 1927

13 sanctions related timekeeping records prior to January 21, 2018, that Defendant never considered or

14 instructed any of the professionals at his disposal to sanction the undersigned until Plaintiffs filed their

15 notice of intent not to amend the complaint. Chhabra Decl. ¶ 7. Ex. 2

16          Clearly, Defendant has violated L. R. 7-8(c) by failing to provide a showing that the instant
17 motion was filed as soon as practicable after he learned of the circumstances that he alleges make this

18 motion appropriate.
19

20
     Conclusion
21

22          Nothing in the record can suggest any action by the undersigned as evidence of bad faith or

23 frivolous litigation practices. Defendant’s counsel’s timekeeping records clearly show that this motion

24 was filed only to harass the undersigned after Plaintiffs decided to appeal this matter.
25          The Court is requested to deem the instant motion frivolous and reprimand Defendant’s counsel

26 for needlessly imposing a burden on this Court and its resources.

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2
     Date: March 8, 2018
3

4                                                Respectfully Submitted,

5                                                CHHABRA LAW FIRM, PC

6                                                s/Rohit Chhabra
                                                 Rohit Chhabra
7                                                Attorney for Plaintiffs
                                                 Open Source Security Inc. & Bradley Spengler
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